      Case: 1:21-cr-00371 Document #: 95 Filed: 02/07/22 Page 1 of 3 PageID #:308




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

    UNITED STATES OF AMERICA
                                              No. 21 CR 371-1
               v.
                                              Judge Matthew F. Kennelly
    VIVIANNA LOPEZ


                        GOVERNMENT’S RESPONSE TO
                      DEFENDANT’S MOTION TO COMPEL

        Defendant Vivianna Lopez has moved the Court to compel the government to

produce records relating to immunity or nonprosecution agreements for Ms. Lopez.

The Court should deny the motion as moot because the government possesses no

discoverable materials responsive to defendant’s request.

        The government has reviewed the case file for any responsive materials. The

government has produced DEA reports documenting two proffer interviews—in 2010

and 2011, respectively—that Ms. Lopez participated in. The government has also

produced copies of the proffer agreements the government previously provided to Ms.

Lopez’s past counsel. At Ms. Lopez’s request, the government also obtained and

produced copies of the notes from the trial preparation meetings of Pedro Flores—the

husband of Ms. Lopez who testified at the trial of Joaquin Guzman a/k/a “El Chapo.” 1




1These materials contained no discussion of any promises of immunity or nonprosecution
agreements.
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    Case: 1:21-cr-00371 Document #: 95 Filed: 02/07/22 Page 2 of 3 PageID #:309




       Other than the items described above, however, the case file contains no

responsive discoverable materials. For example, the government possesses no

immunity letter relating to Ms. Lopez, no order from the court granting Ms. Lopez

immunity, and no nonprosecution agreement pertaining to Ms. Lopez. 2 The

government likewise possesses no agency reports reflecting agreements or promises

to give Ms. Lopez immunity. 3

       In short, Ms. Lopez did not receive immunity from the United States, nor did

the United States enter into a nonprosecution agreement for the benefit of Ms. Lopez.

What’s more, Ms. Lopez’s motion to compel does not even claim that she received

immunity. Surely, if Ms. Lopez had received some form of immunity from the United

States, she would have a record of that fact. 4

       Accordingly, the government respectfully requests that Ms. Lopez’s motion to

compel be denied.




2The case file did contain immunity-related materials for a different person who has not been
charged in this case.
3 The case file did contain a pertinent internal, attorney-work product memorandum from
2011. This internal memorandum is covered by the deliberative process privilege and is not
discoverable. See, e.g., In re United States, 398 F.3d 615, 618 (7th Cir. 2005) (per curiam).
However, without waiving this privilege as to the memorandum’s content, the government
represents that the memorandum does not state that Ms. Lopez had or would receive
immunity, or that the government had entered, or would enter, into a nonprosecution
agreement for her benefit.
4It bears noting that even if Ms. Lopez had received immunity in the past, it would not have
authorized future criminal conduct such as the conduct charged in the indictment.
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   Case: 1:21-cr-00371 Document #: 95 Filed: 02/07/22 Page 3 of 3 PageID #:310




                                     Respectfully submitted,

                                     JOHN R. LAUSCH, JR.
                                     United States Attorney

                              By:    /s/ Andrew C. Erskine
                                     ANDREW C. ERSKINE
                                     ERIKA L. CSICSILA
                                     Assistant U.S. Attorney
                                     219 South Dearborn St., Rm. 500
                                     Chicago, Illinois 60604
                                     (312) 353-1875

Dated: February 7, 2022




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